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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
TRIBUNE COMPANY, e¢ al, : Case No. 08-13141 (KJC)
Debtors.
CERTIFICATE OF SERVICE

I, J. Kate Stickles, Esquire, hereby certify that on April 15, 2009, I caused a copy of the
Notice of First Interim Fee Application and First Interim Fee Application of Alvarez &
Marsal North America, LLC in their Capacity as Restructuring Advisors to the Debtors
and Debtors-in-Possession, for Compensation and Reimbursement of Expenses Incurred
for the Period December 8, 2008 through February 28, 2009 to be served via First-Class Mail,
postage prepaid, on the Notice Parties on the attached service list.

COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

a

Wh

ate Sti¢kles (No. 2917)

00 Delaware Avenue, Suite 1410
Wilmington, DE 19801

(302) 652-3131

(302) 652-3117 (fax)

Attorneys for the Debtors and Debtors in
Possession

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Case 08-13141-BLS Doc 1034-2 Filed 04/15/09 Page 2of9

TRIBUNE COMPANY, et al.
SERVICE LIST RE 1° INTERIM FEE APPLICATION

Linda K. Cooper, Esquire
Stuart Maue

3840 McKelvey Rd.

St. Louis, MO 63044

Joseph J. McMahon, Jr., Esquire
Office of the United States Trustee
J. Caleb Boggs Federal Building

844 King Street, Suite 2207, Lockbox 35

Wilmington, DE 19801

Adam G. Landis, Esquire
Matthew B. McGuire, Esquire
Landis Rath & Cobb LLP

919 Market Street, Ste. 1800
Wilmington, DE 19801

Ellen W. Slights, Esquire

U.S. Attorney's Office

1201 Market Street, Suite 1100
P.O. Box 2046

Wilmington, DE 19899-2046

Stuart M. Brown, Esquire

Edwards Angell Palmer & Dodge
919 North Market Street, Suite 1500
Wilmington, DE 19801

Laurie Silverstein, Esquire

Potter Anderson & Corroon LLP
Hercules Plaza

1313 N. Market Street, PO Box 951
Wilmington, DE 19899-0951

Mark D. Collins, Esquire
Katisha D. Fortune, Esquire
Richards, Layton & Finger, P.A.
920 N. King Street

P.O. Box 551

Wilmington, DE 19899-0511

R. Karl Hill, Esquire

Seitz, van Ogtrop & Green, P.A.
222 Delaware Avenue, Suite 1500
PO Box 68

Wilmington, DE 19899

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Katherine L. Mayer, Esquire
McCarter & English, LLP
Renaissance Centre

405 N. Market St., 8" Floor
Wilmington, DE 19801

Joseph H. Huston, Jr., Esquire
Stevens & Lee, P.C.

1105 North Market Street, 7” FI.
Wilmington, DE 19801

William M. Kelleher, Esquire

Elliott Greenleaf

1105 North Market Street, Suite 1700
Wilmington, DE 19801

Frederick B. Rosner, Esquire
Messana Rosner & Stern, LLP
1000 N. West Street, Suite 1200
Wilmington, DE 19801

Susan E. Kaufman, Esquire
Cooch and Taylor, P.A.
1000 West Street, 10" Floor
Wilmington, DE 19801

Jeffrey C. Wisler, Esquire

Marc J. Phillips, Esquire

Connolly Bove Lodge & Hutz LLP
The Nemours Building

1007 N. Orange St., PO Box 2207
Wilmington, DE 19899

Christopher P. Simon, Esquire

Tara M. DiRocco, Esquire

Cross & Simon, LLC

913 North Market Street, 11th Floor
Wilmington, DE 19801

Eric Lopez Schnabel, Esquire
Robert W. Mallard, Esquire
Dorsey & Whitney (Delaware) LLP
1105 North Market St., 16" Floor
Wilmington, DE 19801
Case 08-13141-BLS Doc 1034-2 Filed 04/15/09 Page 3of9

Mark E. Felger, Esquire

Cozen O’Connor

1201 N, Market Street, Suite 1400
Wilmington, DE 19801

John V. Fiorella, Esquire

Archer & Greiner, P.C.

300 Delaware Avenue, Suite 1370
Wilmington, DE 19801

Jami B. Nimeroff, Esquire
Brown Stone Nimeroff LLC
4 East 8" Street, Suite 400
Wilmington, DE 19801

David B. Stratton, Esquire
Leigh-Anne M. Raport, Esquire
Pepper Hamilton LLP

Hercules Plaza, Suite 5100
1313 Market St., PO Box 1709
Wilmington, DE 19899-1709

Margaret F. England, Esquire

Eckert, Seamans, Cherin & Mellott, LLC
300 Delaware Avenue, Suite 1210
Wilmington, DE 19801

Rachel B. Mersky, Esquire
Monzack Mersky McLaughlin

& Browder, P.A.

1201 N. Orange Street, Suite 400
Wilmington, DE 19801

Wilmington Trust Company

Attn: Patrick J. Healy, Vice President
Rodney Square North

1100 North Market Street
Wilmington, DE 19890

Bradford J. Sandler, Esquire
Jennifer R. Hoover, Esquire
Benesch, Friedlander, Coplan

& Aronoff LLP

222 Delaware Avenue, Suite 801
Wilmington, DE 19801

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Adam Hiller, Esquire

Michelle Berkeley-Ayres, Esquire
Draper & Goldberg, P.L.L.C.

1500 North French Street, 2"4 Floor
Wilmington, DE 19801

Sherry Ruggiero Fallon, Esquire
Tybout Redfearn and Pell

750 Shipyard Drive, Suite 400
PO Box 2092

Wilmington, DE 19899-2092

Jan Connor Bifferato, Esquire
Kevin Collins, Esquire
Bifferato LLC

800 N. King Street, Plaza Level
Wilmington, DE 91801

Michael R. Lastowski, Esquire
Sommer L. Ross, Esquire

Duane Morris LLP

1100 North Market St., Suite 1200
Wilmington, DE 19801

Internal Revenue Service
844 King Street
Wilmington, DE 19801

James F. Conlan, Esquire
Bryan Krakauer, Esquire
Sidley Austin LLP

One South Dearborn Street
Chicago, IL 60603

Kevin T. Lantry, Esquire
Sidley Austin LLP

555 West Fifth Street
Los Angeles, CA 90013

Donald S. Bernstein, Esquire
James A. Florack, Esquire
Damian S. Schaible, Esquire
Davis Polk & Wardwell

450 Lexington Avenue

New York, NY 10017

Internal Revenue Service
31 Hopkins Plaza
ATTN: Room 1150
Baltimore, MD 21201
Case 08-13141-BLS Doc 1034-2 Filed 04/15/09 Page 4of9

Securities & Exchange Commission Pamela Kohlman Webster, Esquire
15° & Pennsylvania Ave., N.W. Buchalter Nemer
Washington, D.C. 20020 1000 Wilshire Boulevard, Suite 1500

Los Angeles, CA 90017-2457
Margot B. Schonholtz, Esquire

Madlyn Gleich Primoff, Esquire Ms. Carolyn Adler
Kaye Scholer LLP Morgan Stanley, Fixed Income
425 Park Avenue 1585 Broadway, 2™ Floor
New York, NY 10022 New York, NY 10036
Elizabeth Weller, Esquire Scott A. Golden, Esquire
Linebarger Goggan Blair & Sampson, LLP Hogan & Hartson LLP
2323 Bryan Street, Suite 1600 875 Third Avenue
Dallas, TX 75201 New York, NY 10022
Frederick D. Hyman, Esquire Thomas V. Askounis, Esquire
Jeffrey G. Tougas, Esquire Askounis & Darcy, PC
Bnan Trust, Esquire 401 North Michigan Avenue, Suite 550
Barbara Yan, Esquire Chicago, IL 60611
Amit K. Trehan, Esquire
Mayer Brown LLP David Adler, Esquire
1675 Broadway G. Amanda Mallan, Esquire
New York, NY 10019-5820 McCarter & English, LLP

245 Park Avenue, 27" Floor
Jeffrey N. Rich, Esquire New York, NY 10167
Charles R. Smith, Esquire
K & L Gates LLP Colleen E. McManus, Esquire
599 Lexington Avenue Much Shelist Denenberg Ament
New York, NY 10022-6030 and Rubenstein, P.C.

191 North Wacker Drive, Ste. 1800
Charles R. Smith, Esquire Chicago, IL 60606
K & L Gates LLP
Henry W. Oliver Building Kelly Singer, Esquire
535 Smithfield Street Squire, Sanders & Dempsey L.L.P.
Pittsburgh, PA 15222-2312 Two Renaissance Square

40 North Central Avenue, Suite 2700
Matthew J. Troy, Esquire Phoenix, AZ 85004-4498
United States Department of Justice
Civil Division Jan I. Berlage, Esquire
P.O, Box 875 Gohn, Hankey & Stichel, LLP
Ben Franklin Station 201 North Charles Street
Washington, D.C. 20044-0875 Baltimore, MD 21201
Wayne M. Smith, Esquire Paul Rubin, Esquire
Warner Bros. Television Distribution, Inc. Herrick, Feinstein LLP
4000 Warner Boulevard Two Park Avenue
Building 156, Room 5158 New York, NY 10016

Burbank, CA 91522

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Case 08-13141-BLS Doc 1034-2

Ruth Weinstein

Canon U.S.A., Inc.

One Canon Plaza

Lake Success, NY 11042

Stephen B. Selbst, Esquire
Herrick, Feinstein LLP
Two Park Avenue

New York, NY 10016

Babette A. Ceccotti, Esquire
Cohen, Weiss and Simon LLP
330 West 42™ Street

New York, NY 10036

Edmond P. O’Brien, Esquire

Stempel Bennett Claman & Hochberg, P.C.
675 Third Avenue, 31° Floor

New York, NY 10017

Tiffany Strelow Cobb, Esquire

Vorys, Sater, Seymour and Pease LLP
52 East Gay Street

Columbus, OH 43215

Robert E. Paul, Esquire

Zwerdling, Paul, Kahn & Wolly, P.C.
1025 Connecticut Avenue NW, Suite 712
Washington, D.C. 20036-5420

Beverly H. Shideler
IBM Corporation

Two Lincoln Centre
Oakbrook Terrace, IL 60181

James E. Sorenson, Esquire
D. Tyler Van Leuven, Esquire
Williams, Gautier, Gwynn,
DeLoach & Sorenson, P.A.
PO Box 4128

Tallahassee, FL 32315-4128

Scott Friedberg

The Seaport Group, LLC

360 Madison Avenue, 22™ Fl.
New York, NY 10017

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Howard Seife, Esquire
David M. LeMay, Esquire
Douglas E. Deutsch, Esquire
Chadbourne & Parke LLP
30 Rockefeller Plaza

New York, NY 10112

Anthony Deglomine, III, Vice President
Harris Corporation

1025 W. NASA Boulevard

Mail Stop A-11A

Melbourne, FL 32919

Eric R. Wilson, Esquire
Howard S. Steel, Esquire
Kelley Drye & Warren LLP
101 Park Avenue

New York, NY 10178

Frank A. Anderson, Esquire
Cassandra R. Burton, Esquire

Kartar S. Khalsa, Esquire

Pension Benefit Guaranty Corporation
Office of the Chief Counsel

1200 K Street, N.W.

Washington, D.C. 20005-4026

John P. Dillman, Esquire

Linebarger Goggan Blair & Sampson, LLP
PO Box 3064

Houston, TX 77253-3064

Jay Teitelbaum, Esquire
Teitelbaum & Baskin, LLP

Three Barker Avenue, Third Floor
White Plains, NY 10601

Joanne Fungaroli, Esquire
CapitalSource Finance LLC
4445 Willard Avenue, 12" Floor
Chevy Chase, MD 20815

Christopher M. Santomassimo
Agfa Corporation

100 Challenger Road
Ridgefield Park, NJ 07660

Anthony J. Davis, Esquire
Dorsey & Whitney LLP
97 Route 17 South
Paramus, NJ 07652
Case 08-13141-BLS Doc 1034-2 Filed 04/15/09 Page 6of9

Kathleen N. Reed

Navistar Leasing Company

425 N. Martingale Road, 18" Floor
Schaumburg, IL 60173

J. Scott Douglass, Esquire
909 Fannin, Suite 1800
Houston, TX 77010

Ramona Neal, Esquire
Hewlett-Packard Company
11311 Chinden Boulevard
Mailstop 314

Boise, ID 83714-0021

Mr. Ken Higman

Sr. Default & Recovery Analyst
Hewlett-Packard Company
2125 E. Katella Ave., Suite 400
Anaheim, CA 92806

Ms. Jodie Rea

Twentieth Television, Inc.

2121 Avenue of the Stars, Suite 1754
Los Angeles, CA 90067

Martin S. Zohn, Esquire
Proskauer Rose LLP

2049 Century Park East, 32” Fl.
Los Angeles, CA 90067

Ira S. Greene, Esquire
Scott A. Golden, Esquire
Hogan & Hartson LLP
875 Third Avenue

New York, NY 10022

Missouri Department of Revenue
Sheryl L. Moreau, Esquire

PO Box 475

Jefferson City, MO 65105-0475

Susanne M. Mitchell, Esquire
International Union UAW
8000 E. Jefferson Avenue
Detroit, MI 48214

Todd M. Hoepker, Esquire
Todd M. Hoepker, P.A.
P.O. Box 3311

Orlando, FL 32802-3311

46429/000 1-5532216v1

Jeffrey J. Newton, County Attorney

Hollie N. Hawn, Assistant County Attorney

Broward County
Government Center

115 South Andrews Avenue
Fort Lauderdale, FL 33301

Mike Lynch, Account Resolution
Travelers

National Accounts

One Tower Square, 5MN
Hartford, CT 06183-4044

Frank F. McGinn, Esquire
Bartlett Hackett Feinberg P.C.
155 Federal Street, 9" Floor
Boston, MA 02110

Shawn M, Christianson, Esquire
Buchalter Nemer

333 Market Street, 25" Floor
San Francisco, CA 94105-2126

Donald R. Furman, Jr., Esquire
Furman Gregory LLC

75 Federal Street, Ninth Floor
Boston, MA 02110

Edward J. Tredinnick, Esquire
Greene Radovsky Maloney

Share & Hennigh LLP

Four Embarcadero Center, Suite 4000
San Francisco, CA 94111

Angie M. Cowan, Esquire
Allison, Slutsky & Kennedy, P.C.
230 W. Monroe Street, Suite 2600
Chicago, IL 60606

Fred Fellmeth, Esquire
General Counsel

Broadcast Systems Division
The Vitec Group ple

101 Bilby Road
Hackettstown, NJ 07840
Case 08-13141-BLS Doc 1034-2 Filed 04/15/09 Page 7 of9

C. B. Blackard, II, Esquire
Corporate Counsel
Acxiom Corporation

301 E. Dave Ward Drive
P.O. Box 2000

Conway, AR 72033-2000

Mark A. Nitikman, Esquire
Virginia P. Croudace, Esquire
Croudace & Dietrich LLP
4750 Von Karman Avenue
Newport Beach, CA 92660

Michael V. Blumenthal, Esquire
Crowell & Moring LLP

590 Madison Avenue, 19" Floor
New York, NY 10022

Alan J. Lipkin, Esquire
Jeremy E. Crystal, Esquire
Willkie Farr & Gallagher LLP
787 Seventh Avenue

New York, NY 10019

Elaine M. Seid, Esquire

McPharlin Sprinkles & Thomas, LLP
10 Almaden Blvd., Suite 1460

San Jose, CA 95113

Linda Boyle

tw telecom inc.

10475 Park Meadows Drive #400
Littleton, CO 80124

Bruce J. Ruzinsky, Esquire

D. Elaine Conway, Esquire
Jackson Walker L.L.P.

1401 McKinney Street, Suite 1900
Houston, TX 77010

Heather M. Forrest, Esquire
Jackson Walker L.L.P.

901 Main Street, Suite 6000
Dallas, TX 75202

Robert J. Stark, Esquire
Daniel J. Staval, Esquire
Brown Rudnick LLP
Seven Times Square
New York, NY 10036

46429/0001-55322 16v1

David M. Neumann, Esquire
Benesch, Friedlander, Coplan
& Aronoff LLP

200 Public Square, Suite 2300
Cleveland, OH 44114-2378

Robert L. Hanley, Jr., Esquire

Nolan, Plumhoff & Williams, Chartered
Suite 700, Nottingham Centre

502 Washington Avenue

Towson, MD 21204

Carol E. Momjian, Esquire
Senior Deputy Attorney General
Office of Attorney General

21 S. 12" Street, 3 Floor
Philadelphia, PA 19107-3603

Dana S. Plon, Esquire

Sirlin Gallogly & Lesser, P.C.
1529 Walnut Street, Suite 600
Philadelphia, PA 19102

Julie A. Manning, Esquire
Shipman & Goodwin LLP
One Constitution Plaza

Hartford, CT 06103-1919

Joseph D. Frank, Esquire
Frank/Gecker LLP

325 North LaSalle Street, Suite 625
Chicago, IL 60654

Janet Fitzpatrick, Legal Assistant
Unisys Corporation

Unisys Way

PO Box 500, M/S E8-108

Blue Bell, PA 19424

Joseph E. Shickich, Jr., Esquire
Maria Ann Milano, Esquire
Riddell Williams P.S.

1001 ~ 4" Avenue, Suite 4500
Seattle, WA 98154-1192

Jacqueline A. Criswell, Esquire
Tressler Soderstrom Maloney
& Priess, LLP

Sears Tower, 22™ Floor

233 South Wacker Drive
Chicago, IL 60606-6314

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Margaret Ann Nolan, County Solicitor
Camela J. Sandmann, Asst. Co. Solicitor
Howard County Office of Law

George Howard Building

3430 Courthouse Drive

Ellicott City, MD 21043

Brian M. Dougherty, Esquire
Goldstine, Skrodzki, Russian,
Nemec and Hoff, Ltd.

835 McClintock Drive, Second Floor
Burr Ridge, IL 60527

Fred B. Ringel, Esquire
Robinson Brog Leinwand Greene
Genovese & Gluck P.C.

1345 Avenue of the Americas
New York, NY 10105

Gateway Pacific Properties, Inc.
c/o Ronald K. Brown, Jr.

901 Dove Street, Suite 120
Newport Beach, CA 92660

Paul J. Catanese, Esquire
Patricia K. Smoots
McGuireWoods LLP

77 W. Wacker Drive, Suite 4100
Chicago, IL 60601

Edward Susolik, Esquire
Callahan & Blaine

3 Hutton Drive, Ninth Floor
Santa Ana, CA 92707

Michelle McMahon, Esquire
Bryan Cave LLP

1290 Avenue of the Americas
New York, NY 10104

Brian G. Esders, Esquire

Corey Smith Bott, Esquire

Abato, Rubenstein and Abato, P.A.
809 Gleneagles Court, Suite 320
Baltimore, MD 21286

Joshua G. Losardo, Esquire

Belkin Burden Wenig & Goldman, LLP
270 Madison Avenue

New York, NY 10016

46429/0001-5532216v1

William J. Ulrich, Jr., Esquire
William R. Brodzinski, Esquire
Mulherin Rehfeldt & Varchetto, PC
211 S. Wheaton Avenue, Suite 200
Wheaton, IL 60187

Thomas R. Meites, Esquire
Michael M. Mulder, Esquire
Meites, Mulder, Mollica & Glink
20 S. Clark Street, Suite 1500
Chicago, IL 60603

Daniel Feinberg, Esquire
Angelica K. Jongco, Esquire
Nina Wasow, Esquire

Lewis, Feinberg, Lee, Renaker
& Jackson, P.C.

1330 Broadway, Suite 1800
Oakland, CA 94612

Philip Gregory, Esquire
Cotchett, Pitre & McCarthy
840 Malcolm Road, Suite 200
Burlingame, CA 94010

Gary A. Bresee, Esquire

Peter J. Felsenfeld, Esquire
Barger & Wolen LLP

650 California Street, 9" Floor
San Francisco, CA 94108

Ms. Linda K. Cooper
Stuart Maue

3840 McKelvey Rd.
St. Louis, MO 63044

George R. Mesires, Esquire

Barack Ferrazzano Kirschbaum & Nagelberg
LLP

200 West Madison Street, Suite 3900
Chicago, IL 60606

Michael A. Cox, Attorney General

Deborah B. Waldmeir, Asst. Attorney General
State of Michigan

Department of Treasury

Cadillac Place, Suite 10-200

3030 W. Grand Boulevard

Detroit, MI 48202
Case 08-13141-BLS Doc 1034-2 Filed 04/15/09

Pamela Kohlman Webster, Esquire
Buchalter Nemer LLP

1000 Wilshire Boulevard, Suite 1500
Los Angeles, CA 90017

Keith D. Elkins, Esquire

Jeffer, Mangels, Butler & Marmaro LLP
1900 Avenue of the Stars, 7” Floor

Los Angeles, CA 90067

Kenneth Miller, Esquire

Ervin Cohen & Jessup LLP

9401 Wilshire Boulevard, 9" Floor
Beverly Hills, CA 90212

Judy D. Thompson, Esquire

Poyner Spruill LLP

301 South College Street, Suite 2300
Charlotte, NC 28202

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